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                                United States District Court
                                       EASTERN DISTRICT OF TEXAS
                                          TEXARKANA DIVISION


    UNITED STATES OF AMERICA                           §
                                                       §
    V.                                                 §           CASE NO. 5:10CR31(2)
                                                       §
    VLADIMIR MAYORGA MARTINEZ                          §


                  ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                            FINDING DEFENDANT GUILTY

           On this day, the Court considered the Findings of Fact and Recommendation of United States

    Magistrate Judge Caroline M. Craven regarding Defendants’ plea of guilty to Count 1 of an Indictment in

    violation of Title 21, U.S.C. § 846, Conspiracy to Possess with Intent to Distribute Cocaine.   Having

    conducted a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11, the Magistrate Judge

    recommends that the Court accept the guilty plea of the Defendant. No objections to the Findings of Fact

    and Recommendation have been filed. The Court is of the opinion that the Findings of Fact and

    Recommendation should be accepted.

.          It is accordingly ORDERED that the Findings of Fact and Recommendation of the United States

    Magistrate Judge, filed March 22, 2011, are hereby ADOPTED.

           It is further ORDERED that the Court finds Defendant GUILTY of Count 1 of the Indictment in

    the above-numbered cause.

           SIGNED this 11th day of April, 2011.




                                                           ____________________________________
                                                           DAVID FOLSOM
                                                           UNITED STATES DISTRICT JUDGE
